                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  UNITED STATES OF AMERICA                   )
                                             )
  v.                                         )       CASE NO. 3:14-CR-00089
                                             )               REEVES/GUYTON
  ROY JENKINS                                )


                               MEMORANDUM AND ORDER

        This matter is before the court on defendant’s pro se motion for sentence reduction

 pursuant to Amendment 782 to the United States Sentencing Guidelines [R. 546]. The

 government has responded that because defendant was sentenced in September 2015, after

 Amendment 782 was incorporated into the Sentencing Guidelines, he has already received

 its full benefit [R. 561].

        The two-level reduction for drug offenses (Amendment 782) became effective

 November 1, 2014, and was incorporated into the Guidelines. Defendant was convicted of

 conspiracy to manufacture 50 grams or more of methamphetamine, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(A). Defendant was sentenced to 60 months imprisonment on

 September 14, 2015, pursuant to the 2014 Guidelines, which incorporated Amendment

 782. Because defendant has received the benefit of Amendment 782, he is not entitled to

 a further reduction in his sentence, and his motion for sentence reduction [R. 546] is

 DENIED.

        IT IS SO ORDERED.

        Enter:
                                          _______________________________________
                                            _____________________________________
                                           UNITED STATES
                                           UNITED   STAATESS DISTRICT
                                                             DISSTRIC
                                                                    CT JUDGE


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